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 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                 )       Case No.1:17-cr-00205-DAD
                                               )
11                     Plaintiff,              )                  ORDER
                                               )         WITHDRAWING THE FEDERAL
12           vs.                               )           DEFENDER AS COUNSEL,
                                               )       APPOINTING AD HOC CJA COUNSEL
13   RAFAEL CARDENAS                           )
               Defendant.                      )
14                                             )
                                               )
15
16           Upon Defendant’s motion and consent, good cause appearing, and for consistency of
17   representation,
18          IT IS HEREBY ORDERED, effective October 1, 2019, withdrawing the Federal
19   Defender as counsel and appointing Victor M. Chavez as ad hoc CJA counsel pursuant to 18
20   U.S.C. § 3006A(b) and Eastern District of California’s CJA Plan, Gen. Ord. 582, § X(C).
21
     IT IS SO ORDERED.
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        Dated:     October 1, 2019
23                                                     UNITED STATES DISTRICT JUDGE
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